Case 5:93-cv-00491-FJS-GJD Document 1-1 Filed 04/16/93 Page1of1

JS 44A
(Rev. 11/78) .

_ the civil docket sheet.
PLAINTIFFS

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CIVIL COVER SHEET

The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of
pleadings or other papers as required by law, except as provided by jocal rules of court. This form, approved by the Judicial
Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating

KENNETH PAPINEAU and VERONICA PAPINEAU,
OLIVER HILL, and SUMMER ROCKWELL

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DEFENDANTS

JOHN DILLON, Individually, and as Sheriff
of Onondaga County and THE COUNTY OF
ONONDAGA

93 CV- 491 FJS

ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)

JOHN J. BRUNETTI, ESO.
121 East Water Street

Syracuse, New York

(315) 471-1212

13202

ATTORNEYS.(IF KNOWN)

DIANE TUCKER, ESQ.

Deputy County Attorney
Department of Law

Onondaga County Civic Center
Syracuse, New York 13202-
(315) 435-2170

(PLACE AN (IN ONE BOX ONLY)

(1 us. PLAINTIFF

(12 u.s. DEFENDANT

BASIS OF JURISDICTION

(N3 FEDERAL QUESTION
(U.S. NOT A PARTY)

IF DIVERSITY, INDICATE
CITIZENSHIP BELOW.
(28 USC 1332, 1441}

oo

114 DIVERSITY

CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE)

Title 42 USC Section 1983 - Civil Rights Violation

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NATURE OF SUIT

CONTRACT

ACTIONS UNDER STATUTES

TORTS

CIVIL RIGHTS FORFEITURE/PENALTY PROPERTY RIGHTS
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° , 1840 TRADEMARK
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11320 ASSAULT, LIBEL 11443 accommopa— C400
[1140 NEGOTIABLE ? TIONS STATE REAP- TAX SUITS |
INSTRUMENT 330 SLANDER C1640 RR. & TRUCK PORTIONMENT [1870 TAXES
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& ENFORCEMENT XX440 orHer civic | 1660 occuPaATIONAL| [1420 TRUSTEE [1891 acricut-
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LIABILITY LIABILITY 1450 commerce icc MENTAL.
(1360 oTHER PER- C1510 vacate LABOR RATES, ETC. MATTERS
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LIABILITY RSI ACTIONS

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M1 ORIGINAL
PROCEEDING

2 REMOVED FROM

STATE COURT

ORIGIN

REMANDED FROM

03 APPELLATE COURT

TRANSFERRED -
O65 FROM (SPECIFY Og MULTIDISTRICT
DIST.

o4 REINSTATED OR
i LITIGATION

REOPENED

